                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                      Case No. 13-47986

RANDY K. DZIERZAWSKI,                                       Chapter 7

            Debtor.                                         Judge Thomas J. Tucker
______________________________________/

                     ORDER GRANTING VULPINA LLC’S MOTION
                   FOR DERIVATIVE STANDING TO PURSUE CLAIMS

        This case came before the Court on September 17, 2014 for a hearing on a motion by
creditor Vulpina LLC (“Vulpina”) entitled “Vulpina LLC’S Motion for Derivative Standing To
Pursue Fraudulent Transfer Claims” (Docket # 175, the “Motion”). Today, the Court has issued
a written opinion regarding the Motion (Docket # 193). For the reason stated in that written
opinion,

        IT IS ORDERED that the Motion (Docket # 175) is granted, and Vulpina is granted
derivative standing to file and prosecute, on behalf of the bankruptcy estate, the claims against
Kimberly Dzierzawski described and referred to in the Motion and in the Court’s written opinion
filed today.

        IT IS FURTHER ORDERED that the foregoing grant of standing to Vulpina is subject to
the terms stated in the Stipulation quoted and referred to on pages 8-9 of the Court’s written
opinion filed today, and is subject to the following terms:

         Vulpina will incur and pay the attorney fees and expenses for prosecuting the
         claims, and may seek reimbursement for such attorneys fees and expenses from
         the bankruptcy estate under, and based only on, 11 U.S.C. §§ 503(b)(3)(B) and
         503(b)(4); and such requested fees and expenses may not exceed the amount of
         funds that the bankruptcy estate actually recovers because of Vulpina’s
         prosecution of the claims.

       IT IS FURTHER ORDERED that if and to the extent there is any conflict between the
terms of this Order and the stipulation, the terms of this Order will govern.


Signed on September 26, 2014                        /s/ Thomas J. Tucker
                                                    Thomas J. Tucker
                                                    United States Bankruptcy Judge




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